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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICA              )
                                      )         CRIMINAL ACTION NO.
       v.                             )          2:12cr48-MHT
                                      )               (WO)
MICHAEL SMITH                         )

                            OPINION AND ORDER

       Based upon consideration of the recommendation and

supplemental        recommendation         of     the    United     States

Magistrate Judge (doc. nos. 187 & 281) and the objections

filed by defendant Michael Smith (doc. nos. 199 & 286)

and by the government (doc. no. 197); and after an

independent and de novo review of the record, including

the    transcript      of   the   hearing       before   the   magistrate

judge, it is the ORDER, JUDGMENT, and DECREE of the

court:

       (1) That defendant Michael Smith’s objections (doc.

nos. 199 & 286) are overruled;

       (2) That the government’s objection (doc. no. 197) is

overruled;
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    (3)    That     the    recommendation         and    supplemental

recommendation of the United States Magistrate Judge

(doc. nos. 187 & 281) are adopted;

    (4) That defendant Smith’s motion for a hearing

pursuant to United States v. Kastigar (doc. no. 110) is

denied; and

    (5) That defendant Smith’s motion to suppress (doc.

no. 113) is denied.

                                 ***

    Assuming that defendant Michael Smith’s waiver of his

rights under Garrity v. New Jersey, 385 U.S. 493 (1967),

is restricted to his prior statements to the Alabama

Department of Corrections Investigation and Intelligence

Division and the derivatives of such statements, the

court agrees with the magistrate judge’s conclusion that

Smith’s   other    statements–-in        his    incident     and    duty

officer reports, to the Alabama Bureau of Investigation,

and at his pre-termination hearing–-were not compelled on




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threat of job loss and therefore are not due to be

suppressed under Garrity.

    Both   Smith     and    the     government   have    objected        to

certain characterizations of evidence and statements of

law that appear in one of the recommendations (doc. no.

187).   The court agrees with Smith that, for example,

there was no direct testimony as to the existence of a

Garrity-statement filter within the government attorney’s

office at the evidentiary hearing.            The court also tends

to agree with both sides that, were the court to admit

Garrity-protected       statements      against      Smith     for      the

obstruction-of-justice and false-statements counts, those

counts would need to be severed from a trial on the

substantive    civil       rights    violations.        But,    because

resolution of these objections would have no effect on

the outcome of the issues at hand, the court overrules

the objections.

    DONE, this the 6th day of June, 2013.

                                         /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE
